Case 2:O4-cr-204lO-SHI\/| Document 32 Filed 07/08/05 Page 1 of 2 " Page|D 32

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FOR THE WESTERN DISTRICT OF TENNESSEE 05`”“._8 PH h:|z

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UNITED STATES OF AMERICA
Plaintiff,
VS. CR. NO. 04-204lO-D

GARY GARNER
Defendant.

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ORDER ON CHANGE OF PLEA
AND SETTING

 

This cause came on to be heard on July 7, 2005, the United States
Attorney for this district, E. Greg Gilluly, Jr., appearing for the
Government and the defendant, Gary Garner, appearing in person and with
counsel, Pamela B. Hamrin, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count l of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for THURSDAY, OCTOBER 6, 2005, at
1200 P.M., before Judge Bernice B. Donald.

Defendant is remanded to the custody of the U. S. Marshal.

ENTERED this the d day of July, 2005.

§ERNICE B . 1ade '

UNITED STATES DISTRICT COURT

 

 

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This notice confirms a copy of the document docketed as number 32 in
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Pamela B. Hamrin

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Honorable Bernice Donald
US DISTRICT COURT

